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                                                           UNITED STATES DISTRICT COURT
                       12
                                                       NORTHERN DISTRICT OF CALIFORNIA
                       13
                                                                       SAN JOSE DIVISION
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                            COREPHOTONICS, LTD.                                          Case No. 5:17-cv-06457-LHK (NCx)
                       16
                                                    Plaintiff,                           PLAINTIFF COREPHOTONICS LTD.’S
                       17                                                                OPPOSITION TO DEFENDANT APPLE
                            vs.                                                          INC.’S MOTION TO DISMISS FIRST
                       18                                                                AMENDED COMPLAINT
                       19   APPLE INC.                                                   Hearing
                                                                                         Date: November 8, 2018
                       20                           Defendant.                           Time: 1:30 PM
                                                                                         Place: Courtroom 8, 4th Floor
                       21                                                                Judge: Hon. Lucy H. Koh
                       22                                                                JURY TRIAL
                       23                                                                Original Complaint Filed:
                                                                                                November 6, 2017
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                        1           After inducing Corephotonics to disclose its innovations in dual camera technology over

                        2   the course of more than four years with a promise of a potential license agreement, and with full
                        3   knowledge that Corephotonics’ innovations were the subject of multiple patent applications that

                        4   matured into patents, Apple used Corephotonics’ inventions in the new generation of iPhones
                        5   with dual cameras, and continued its infringing conduct after it became aware of the patents and
                        6   even after this lawsuit was filed. Apple now seeks absolution from any claim of willful
                        7   infringement, before any discovery. Apple’s motion to dismiss these claims with prejudice
                        8   should be denied, because Apple has failed to show that the totality of circumstances alleged in
                        9   the amended Complaint do not plausibly support an inference of Apple’s willful infringement.
                       10   Apple’s bases its motion on grounds that contradict Federal Circuit precedent, as well as
                       11   arguments that this Court’s previous decision has already rejected – on Apple’s urging – when it
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                       12   ruled in Apple’s favor in Apple v. Samsung.
                       13   I.      INTRODUCTION AND BACKGROUND
                       14           Corephotonics is an Israeli-based technology company focused on developing cutting-
                       15   edge miniature camera technology. Founded in 2012, it now employs among its staff over 50
                       16   engineers and technologists. Corephotonics’ customers include leading suppliers and mobile
                       17   phone makers around the world. One of Corephotonics’ inventive technologies is a miniature
                       18   dual-aperture camera that achieves optical zoom by integrating a wide-angle and a telephoto
                       19   lens. Corephotonics has patents protecting lens design and image/video processing aspects of
                       20   these inventions. Corephotonics alleges, in this lawsuit, that the Apple iPhone 7 Plus and 8 Plus
                       21   infringe four of Corephotonics’ patents.1
                       22           Corephotonics’ First Amended Complaint (“FAC”) alleges additional facts, among them
                       23   that: Apple evaluated Corephotonics’ technologies for a period of years, while Corephotonics
                       24   told it that it was pursuing patents on them. Apple learned about Corephotonics’ patents and
                       25   applications in the course of its own prosecution efforts. Corephotonics and Apple frequently
                       26   met. Corephotonics attempted to acquire samples of Corephotonics’ proprietary telephoto
                       27
                            1
                              The Corephotonics patents-in-suit are U.S. Pat. Nos. 9,185,291 (the “’291 patent”), 9,402,032
                       28   (the “’032 patent”), 9,538,152 (the “’152 patent”), and 9,568,712 (the “’712 patent”)
                            (collectively the “Asserted Patents”).
                                                                           1
                                        PLAINTIFF COREPHOTONICS LTD.’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                        1   camera lenses from Corephotonics’ supplier without Corephotonics’ knowledge or permission.

                        2   Apple then requested and acquired samples of its proprietary telephoto camera lenses from
                        3   Corephotonics. Apple also acquired from Corephotonics demonstration versions of

                        4   Corephotonics’ software. Corephotonics’ prototype hardware and software were utilized by
                        5   Apple at its facilities in secret. After the iPhone 7 Plus was introduced, Corephotonics tried to
                        6   share information about its patents with Apple employees. Apple employees told them they did
                        7   not want to receive it. Apple knowingly used Corephotonics’ intellectual property to its benefit,
                        8   yet it refused to avoid infringing Corephotonics’ patents after it learned about them, as well as
                        9   after this suit was filed.
                       10           The inference from the totality of these alleged factual circumstances, if proven true,
                       11   plausibly supports a claim that Apple’s willfully infringed Corephotonics’ patents and continues
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                       12   to willfully infringe after the Complaint. Apple, however, seeks to fully evade any such claims,
                       13   before there is discovery and infringement claims against it are fairly adjudicated. Apple
                       14   improperly bases its sweeping motion on statements the Court made at the Case Management
                       15   Conference. Corephotonics did amend its Complaint, however, adding numerous detailed factual
                       16   allegations of Apple’s egregious conduct and knowledge of Corephotonics’ Asserted Patents.
                       17   Apple’s motion to dismiss Corephotonics’ willful infringement, with prejudice, should be denied
                       18   accordingly.
                       19           Apple’s arguments should be denied because of at least two basic flaws. First, Apple
                       20   contends that Corephotonics has failed to plead “specific” facts regarding Apple’s knowledge of,
                       21   or willful blindness to, its infringement of the Asserted Patents. Apple’s arguments depend on a
                       22   raised bar for pleading willful infringement – which is contrary to Federal Circuit precedent.
                       23   Apple compounds its error by taking individual facts alleged by FAC, piece by piece, and
                       24   arguing that each allegation alone cannot support a claim of willful infringement. The totality of
                       25   the FAC’s allegations plausibly support the inference that Apple knew or should have known
                       26   about the Asserted Patents before either the suit was filed or Corephotonics sent a letter before
                       27   filing the suit, and that Apple’s infringement was willful. Apple fails to show otherwise.
                       28

                                                                                        2
                                        PLAINTIFF COREPHOTONICS LTD.’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                        1          Second, Apple only contends that the FAC fails to allege sufficient facts to support the

                        2   inference that Apple knew of its infringement of the Asserted Patents before Corephotonics filed
                        3   this lawsuit. Apple does not even argue that its post-suit knowledge of the Asserted Patents

                        4   would be insufficient to support a claim of willful infringement. But pre-suit knowledge is not
                        5   required to prove willful infringement, as this court held last year in Apple v. Samsung. Apple,
                        6   undaunted, relies on the same legal arguments that it successfully convinced this Court to reject
                        7   when they were made by Samsung. Apple argues, as Samsung did then, that its pre-suit conduct
                        8   at issue occurred before it knew about the patents and before the patents issued. This Court held
                        9   then that pre-suit knowledge of patents is not a prerequisite for willful infringement, and that
                       10   willful infringement may be found based on post-suit conduct. Apple does not propose any
                       11   reason to distinguish this case from Apple v. Samsung. Indeed, Apple failed even to cite Apple v.
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                       12   Samsung.
                       13          For these reasons, and as explained below, the motion to dismiss should be denied.
                       14   II.    ARGUMENT
                       15          A.         Corephotonics’ First Amended Complaint (“FAC”) Alleges Non-
                       16                     Conclusory Facts in Support of Claims of Willful Infringement.
                       17          The First Amended Complaint (“FAC”) provides additional factual allegations, in detail,
                       18   to support Corephotonics’ claims of willful infringement. FAC, Dkt. 42. These are summarized
                       19   as follows:
                       20          Apple first learned about Corephotonics in 2012. Corephotonics and Apple employees,
                       21   including the head of Apple’s camera team, communicated and met in 2012. At that time,
                       22   Corephotonics told Apple that it intended to protect its technologies with patents. FAC, ¶ 22.
                       23   During 2013-2014, Corephotonics and Apple engaged in extensive technological discussions and
                       24   had numerous meetings. ¶¶ 23-30.
                       25          During this time, Corephotonics sent and gave Apple design files that disclosed its
                       26   inventions. ¶ 24 After Corephotonics learned that Apple had tried to obtain a sample of
                       27   Corephotonics’ innovative lens assembly from a supplier (without informing Corephotonics),
                       28   Apple requested and acquired samples from Corephotonics. ¶¶ 26-27. Apple requested and

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                        1   acquired from Corephotonics testing versions and demonstrations of its dual camera zoom and

                        2   fusion software to Apple. Id., ¶¶ 24-25, 27-28. Apple tested, evaluated, and utilized the samples
                        3   and software that Corephotonics gave it internally at their own facilities, in the absence of

                        4   Corephotonics personnel. ¶¶ 27-28.
                        5          During business discussions about potential licensing in 2014, Corephotonics told Apple
                        6   about its then-active patent families, which included telephoto lens designs and dual camera
                        7   technologies that are claimed in the Asserted Patents. ¶ 29. From 2015 through 2016, Apple cited
                        8   a number of Corephotonics patents and applications in the prosecution of its own small-format
                        9   telephoto lens and dual camera patents. These included the ’291 patent, the ‘152 patent
                       10   application, and the parent application of the ’032 and ‘712 patents, which Apple had to
                       11   overcome before its own patent could issue. ¶¶ 39-44.
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                       12          Apple and Corephotonics resumed discussions in 2016 concerning dual camera
                       13   technology, and there were business proposals exchanged that included the potential licensing of
                       14   Corephotonics’ intellectual property. ¶¶ 33-34. In September 2016, Apple introduced the iPhone
                       15   7 Plus, which included a telephoto camera and dual camera fusion and zoom software that
                       16   infringe Corephotonics’ patents. At a meeting with Apple employees in October 2016,
                       17   Corephotonics tried to share their patents with Apple employees, but an Apple employee told
                       18   Corephotonics not to send its patents to them. ¶ 35. Corephotonics had meetings about its new
                       19   technologies with Apple through 2017. ¶ 36. On October 31, 2017, before this lawsuit was filed,
                       20   Corephotonics sent a letter to Apple describing its belief that Apple was infringing
                       21   Corephotonics’ patents and subsequently filed this lawsuit. ¶ 37.
                       22          The FAC alleges further details regarding Apple’s willful infringement of each of the
                       23   Asserted Patents. See, e.g., Id., ¶¶ 48-50, 61-63, 74-76, 87-89. The FAC further alleges, for each
                       24   Asserted Patent, that Apple knew of, or was willfully blind to, the patent and its infringement,
                       25   from the time the patent was issued or later, when Corephotonics employees tried to tell Apple’s
                       26   employees about the patent, when Corephotonics sent the letter before the suit, and from the time
                       27   the original Complaint was filed. Id.
                       28

                                                                                       4
                                       PLAINTIFF COREPHOTONICS LTD.’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                        1          B.       The FAC Provides Sufficient Notice of Corephotonics’ Claims that

                        2                   Apple’s Infringement of the Asserted Patents was Willful.
                        3          Apple’s assertion that Corephotonics has not pled sufficiently “specific” facts about

                        4   Apple’s knowledge imply a pleading standard that simply does not exist. are thus inapposite. In a
                        5   complaint, “Specific facts are not necessary; the statement need only give the defendant fair
                        6   notice of what the claim is and the ground upon which it rests.” Disc Disease Sols. Inc. v. VGH
                        7   Sols., Inc., --- F.3d ---, No. 2017-1483, 2018 WL 2011468, at *3 (Fed. Cir. May 1, 2018). The
                        8   Supreme Court has held that after a finding of “egregious misconduct” based on a “full range of
                        9   culpable behavior” by an infringer, enhanced damages are available to a patentee at the Court’s
                       10   discretion under 35 U.S.C. §284. Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1933
                       11   (2016). There is no “specific” or “high” burden of proof for a finding of willful infringement that
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                       12   supports enhanced damages.” Id. at 1934. There is also nothing special about the pleading
                       13   standards for willful infringement, as it “does not equate to fraud” and Rule 9(b) does not apply
                       14   Ferguson Beauregard/Logic Controls, Div. of Dover Res., Inc. v. Mega Systems, LLC, 350 F.3d
                       15   1327, 1343 (Fed. Cir. 2003).
                       16          Corephotonics has, accordingly, provided “fair notice” of its claim of willful
                       17   infringement of the Asserted Patents, and the FAC alleges the grounds of Apple’s egregious
                       18   misconduct and inferences of its culpable behavior upon which those claims rest. Id., ¶¶ 48-50,
                       19   61-63, 74-76, 87-89. Apple also asserts that the FAC’s allegations are “bare” or “conclusory,”
                       20   despite their extensive detail. Dkt. 47, 6-7. The allegations in the FAC, however, goes well
                       21   beyond merely conclusory statements or threadbare recitals of Apple’s liability. The FAC
                       22   includes a lengthy detail of Apple’s pattern of conduct, over the course of years, relating to
                       23   Apple’s infringement of the Asserted Patents. See id., ¶¶ 22-44. At this stage, the FAC’s
                       24   allegations are to be are accepted as true, and inferences must be drawn “in the light most
                       25   favorable” to Corephotonics. Barker v. Riverside Cty. Office of Educ., 584 F.3d 821, 824 (9th
                       26   Cir. 2009). The FAC, therefore, alleges sufficient facts, with detail, to clear the necessary bar of
                       27   plausibly supporting an inference of Apple’s egregious misconduct in infringing the patents.
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                                        PLAINTIFF COREPHOTONICS LTD.’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                        1          The FAC thereby meets the requirements for sufficiently pleading willful infringement of

                        2   the Asserted Patents. Apple does not dispute that the FAC includes detailed factual allegations
                        3   about Apple’s interactions and conduct with respect to Corephotonics. Apple instead argues that

                        4   the FAC insufficiently alleges Apple’s knowledge of the Asserted Patents during the timeframe
                        5   of Apple’s conduct before the suit was filed. Apple’s arguments fail to address the totality of the
                        6   FAC’s detailed allegations, and they are based on legal rules about willful infringement that
                        7   Halo, the Federal Circuit, and this Court have all rejected.
                        8          C.       The FAC Alleges Sufficient Facts to Support the Plausible Inference
                        9                   that Apple Has Infringed and Continues to Infringe with Culpability.
                       10          The FAC also alleges a plausible inference that Apple already knew of its infringement of
                       11   the Asserted Patents before Corephotonics sent its letter to Apple about them and filed the
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                       12   original Complaint. Apple’s arguments at most challenge the strength of factual inferences,
                       13   which applies the wrong standard at the pleading stage, and they fail to address the totality of the
                       14   alleged circumstances as required by Federal Circuit precedent.
                       15                   1.        Corephotonics’ Claims Survive if the Pleadings Support Even
                       16                             a Plausible Inference of Egregious Conduct.
                       17          At the pleading stage there may only be limited consideration of the relative strength of
                       18   inferences from Corephotonics’ factual allegations. The requirement that there be plausible
                       19   grounds for a claim “does not impose a probability requirement at the pleading stage; it simply
                       20   calls for enough fact to raise a reasonable expectation that discovery will reveal evidence of
                       21   illegal agreement.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007). A complaint may even
                       22   proceed “if it strikes a savvy judge that actual proof of the facts alleged is improbable.” ABB
                       23   Turbo Sys. AG v. Turbousa, Inc., 774 F.3d 979, 987–88 (Fed. Cir. 2014). (quoting Twombly, 550
                       24   at 556). ABB, 774 F.3d at 987-988. Apple’s motion to dismiss with prejudice asks for a decision
                       25   on the merits of Corephotonics’ claim before there has been any discovery. Corephotonics does
                       26   not know what Apple knows, it can only know what it told Apple or Apple told it.
                       27          Accordingly, the Court must look at what inferences are merely plausible from what the
                       28   FAC alleges, as construed in Corephotonics’ favor. Barker, 584 F.3d at 824. As an initial matter,

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                        1   Corephotonics need not show pre-suit knowledge by Apple to support a claim of willful

                        2   infringement. However, even if it did, Corephotonics has alleged facts from which it may be
                        3   plausibly inferred that Apple knew of the Asserted Patents before the suit was filed. To the

                        4   extent that Apple contends that such an inference could only be made upon a party providing
                        5   actual notice of the Asserted Patents and its infringement accusations, these arguments lacks
                        6   foundation. Rather, inference of an accused infringer’s knowledge of patents is enough to
                        7   support a jury finding of willful infringement. For example, the Federal Circuit upheld the jury’s
                        8   finding of an “inference” of the defendant’s pre-suit knowledge given the facts presented therein.
                        9   WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341–42 (Fed. Cir. 2016). The totality of what the
                       10   FAC alleges is more than enough to show a plausible inference to support its claims of that
                       11   Apple’s infringement was culpable and willful. See FAC, ¶¶ 22-44.
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                       12                  2.        The Totality of Corephotonics’ Factual Allegations Raise a
                       13                            Plausible Inference that Apple Infringed and Continues to
                       14                            Infringe with Knowledge of the Patents.
                       15          Apple’s argues that each allegation, in isolation, would fail to support a plausible
                       16   inference of Apple’s culpability. Apple does not address the allegations pled in the FAC in their
                       17   totality. Apple’s approach thereby contravenes the bedrock principle that “in a determination of
                       18   willfulness and its consequences, the totality of circumstances considered.” Rite-Hite Corp. v.
                       19   Kelley Co., 819 F.2d 1120, 1125 (Fed. Cir. 1987).
                       20          Apple’s knowledge of the patents can be inferred from the fact that Corephotonics
                       21   disclosed that it had applied for patents on the technology it was sharing with Apple, from
                       22   Apple’s patent prosecution efforts (which include extensive citations of Corephotonics patents
                       23   and applications), from Corephotonics’ October 2017 letter, and from the filing of the
                       24   Complaint. FAC, ¶¶ 39-44. The allegations include an express citation of one of the Asserted
                       25   Patents as issued, which even Apple acknowledged was sufficient on its own to show for a Court
                       26   in this District to find that it showed actual knowledge of the patent. OpenTV, Inc. v. Apple, Inc.,
                       27   No. 14-cv-01622-HSG, 2015 WL 1535328, at *7-8 (N.D. Cal. Apr. 6, 2015). Apple does not
                       28   distinguish this case on the basis of any facts, but simply asserts that it was somehow abrogated

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                        1   on the basis of language taken out of context from a concurrence in Halo that was signed by only

                        2   3 of 9 Justices. In another case recent case, which was decided after Halo, the defendant’s
                        3   citation of a patent application in prosecution, before that application issued, was also found

                        4   sufficient to support a plausible inference of pre-suit knowledge of that patent’s existence.
                        5   Blitzsafe Texas, LLC v. Volkswagen Grp. of Am., Inc., No. 2:15-cv-1274-JRG-RSP, 2016 WL
                        6   4778699, at *6 (E.D. Tex. Aug. 19, 2016).
                        7          The cases Apple cites in its favor are otherwise distinguishable. In Spherix Inc. v. Juniper
                        8   Networks, Inc., the patentee had pointed to the citation of a patent in the prosecution of two of
                        9   many patents bought at auction. No. CV 14-578-SLR, 2015 WL 1517508, at *3 (D. Del. Mar.
                       10   31, 2015). In this case, by contrast, Corephotonics has pointed to multiple citations in a narrow
                       11   universe of Apple’s miniature camera patents. In the other case cited by Apple, the Court did not
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                       12   consider any potential relationship between the parties as there was here, in which Apple spent
                       13   years evaluating Corephotonics technologies. Bonutti Skeletal Innovations, LLC v. Globus Med.
                       14   Inc., No. CIV.A. 14-6650, 2015 WL 3755223, at *3 (E.D. Pa. June 15, 2015).
                       15          Apple’s argument that allegations of Apple’s knowledge of the parent applications of the
                       16   ’032 and ’712 patents, which claim telephoto lens assembly designs, are insufficient is similarly
                       17   unavailing. Apple had to analyze and get around that parent application to get one of its own
                       18   telephoto lens patents issued. The FAC alleges, moreover, that Apple also received drawings and
                       19   physical samples of Corephotonics’ telephoto lens assemblies at the same time. Similar context
                       20   exists for Apple’s knowledge of the ‘291 patent, which had issued when Apple cited it in its own
                       21   patent applications, and the ’152 patent application. Apple was also testing Corephotonics’ zoom
                       22   and fusion technology covered by these patents. Apple also knew that Corephotonics was
                       23   seeking patents on each of these, and Apple engaged in business discussions with Corephotonics
                       24   that included the potential of licensing. Apple does not address these allegations as a totality,
                       25   along with the other context alleged in the FAC. See §§ 22-44.
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                        1           Apple relies on cases in which a defendant only had knowledge of patents and

                        2   applications, absent any other context. Dkt. 47, 10-11.2 In these cases, plaintiffs did not, or were
                        3   not able to, include allegations of technology exchanges or any commercial relationship beyond

                        4   licensing discussions. By contrast, when a plaintiff, like Corephotonics, has alleged more than
                        5   just the knowledge of patents and applications, courts consider the inference drawn from all the
                        6   allegations taken together. For example, in another case involving a motion to dismiss a claim of
                        7   willful infringement against Apple, the patentee had alleged an “unspecified relationship”
                        8   between another party, AT&T, and an inventor of the patent; knowledge of a published
                        9   application of a parent application by Apple; and the existence of the business relationship
                       10   between AT&T and Apple while AT&T was Apple’s exclusive customer. SoftView LLC v. Apple
                       11   Inc., No. CIV. 10-389-LPS, 2012 WL 3061027, at *5 (D. Del. July 26, 2012). That court found
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                       12   that while each allegation individually was insufficient, “[t]aken in combination,” this was
                       13   enough for the claim to survive a motion to dismiss. Id. at *6.
                       14           The other cases on which Apple relies also relate to factual circumstances that differed
                       15   from the case at bar, in particular, State Industries, Inc. v. AO Smith Corp., 751 F. 2d 1226 (Fed.
                       16   Cir. 1985). As an initial matter, that case was an evaluation of a full record after a bench trial, in
                       17   which the facts of the conduct of the patentee and accused infringer had been fully established.
                       18   Id. at 1234. At the pleading stage, however, all of Corephotonics’ allegations are to be taken as
                       19   true. State Industries was also a case about whether a defendant could have known about secret
                       20   applications that were being amended in secret, as at that time patent applications and
                       21   prosecution were not a matter in the public record. See, e.g., id. at 1235 (noting that the patentee
                       22   was “manipulating its secret patent application”). The patent at issue had also not issued, so it
                       23   was not public (or available to the accused infringer) until 22 days before the lawsuit. Id. at 1237.
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                              See Vasudevan Software, Inc. v. TIBCO Software Inc., No. C 11-06638 RS, 2012 WL 1831543,
                       26   at *1 (N.D. Cal. May 18, 2012); Sealant Sys. Int'l, Inc. v. TEK Glob., No. C 11-00774 PSG, 2012
                            WL 13662, at *1 (N.D. Cal. Jan. 4, 2012; LML Holdings, Inc. v. Pac. Coast Distrib. Inc., No. 11-
                       27   CV-06173 YGR, 2012 WL 1965878, at *4 (N.D. Cal. May 30, 2012); Longitude Licensing v.
                            Apple Inc., No. C-14-04275-EDL, 2015 WL 1143071, at *2–3 (N.D. Cal. Mar. 13, 2015); Adidas
                       28   Am., Inc. v. Skechers USA, Inc., No. 3:16-CV-1400-SI, 2017 U.S. Dist. LEXIS 89752, *9-10,
                            2017 WL 2604310 (D. Or. June 12, 2017).
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                        1   Decisions like State Industries and contemporaries were thus based on the premise that “[i]n our

                        2   patent system, patent applications are secret, and patentees are authorized to sue ‘innocent’
                        3   manufacturers immediately after patents issue and without warning.” Gustafson, Inc. v.

                        4   Intersystems Indus. Prod., Inc., 897 F.2d 508, 510–11 (Fed. Cir. 1990) (collecting cases). So, an
                        5   inevitable element of the “totality of circumstances” in these cases was that patent applications
                        6   were necessarily secret through prosecution until the day they issued.
                        7          The basic premise set forth in Gustafson no longer applies. Corephotonics’ patent
                        8   applications were, as is now generally required, published before issuing. 35 U.S.C. § 122(b).
                        9   And, after they were, the prosecution files were also made available at the Patent Office’s public
                       10   PAIR website as well. Manual of Patent Examining Procedure § 1730.II.B.2.(d) (“All patent
                       11   applications filed after June 30, 2003 have been scanned into the IFW system and will be
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                       12   available in public PAIR as soon as they have been published or patented.”). Corephotonics
                       13   alleges that Apple at least knew about published applications in the course of its prosecution
                       14   activities. All the office actions, claim amendments, and notices of allowance associated with
                       15   these applications have been available to the public for free online. This is unlike the
                       16   circumstances of State and Gustafson, when all the applications and amendments were secret.
                       17          Given the many other circumstances of Apple’s conduct and inferences from its
                       18   knowledge, unlike State Industries, in this case, knowledge of patent applications is a relevant
                       19   part of what Apple knew about the Asserted Patents. Based on a totality of circumstances, Apple
                       20   plausibly had sufficient warning to have known when the Asserted Patents were about to issue,
                       21   or to verify whether they had issued when the Apple iPhone 7 Plus was released or when
                       22   Corephotonics told its employees that they wanted to show them relevant patents. Given Apple’s
                       23   knowledge of Corephotonics technology and its evaluation of Corephotonics as a business
                       24   opportunity as well, these factual circumstances plausibly imply that Apple knew that the
                       25   Asserted Patents existed well before Corephotonics sent them a letter.
                       26          Apple’s only argument otherwise is that Corephotonics did not explicitly send Apple a
                       27   notice about each individual patent before then. But if such notice were held to be a legal
                       28   prerequisite for the survival of a claim of willful infringement, that would contradict the clear

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                        1   guidance that there are no “rigid” formulas or rules for what facts plausibly infer willful

                        2   infringement. Halo, 136 S.Ct. at 1923; Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275,
                        3   1295–96 (Fed. Cir. 2017). In this case, Corephotonics has pled multiple factual circumstances

                        4   that give rise to the plausible inference of Apple’s willful infringement of the Asserted Patents
                        5   before the lawsuit was filed. Apple has failed to show, as it must, that there is no plausible
                        6   inference based on a totality of circumstances that Apple knew it was infringing the Asserted
                        7   Patents before Corephotonics filed the Original Complaint. Apple’s motion to dismiss, therefore,
                        8   should be denied.
                        9                   3.        Corephotonics’ Allegations Also Plausibly Evince Apple’s
                       10                             Willful Blindness to the Asserted Patents and its Infringement.
                       11          Apple’s motion does not address Corephotonics’ allegation of willful blindness as
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                       12   alternative grounds for willful infringement claims in the FAC. See FAC, ¶¶ 49, 62, 75, 88. The
                       13   Supreme Court held that “the doctrine of willful blindness is well established criminal law” and
                       14   that willful blindness results in the same level of culpability as actual knowledge in the context
                       15   of induced infringement. Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766–69 (2011).
                       16   Relatedly, courts have also “repeatedly” held that willful infringement of copyrights does not
                       17   require a showing of actual knowledge where there is a showing of willful blindness. Unicolors,
                       18   Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 992 (9th Cir. 2017).
                       19          Federal Circuit precedent permits willful blindness as grounds for enhanced damages
                       20   under §284. Apple’s arguments that “knowledge” of a patent is as a “prerequisite” for enhanced
                       21   damages due to infringement cite to WBIP, LLC v. Kohler Co. In WBIP, however, the court
                       22   upheld a jury verdict in which willfulness infringement was found based on an inference of
                       23   knowledge. 829 F.3d at 1341. The WBIP decision did not address any contentions of willful
                       24   blindness. To otherwise distinguish infringement with willful blindness as a separate or lesser
                       25   form of culpability that is separate from lesser infringement with actual knowledge would
                       26   contradict the Supreme Court’s instruction to avoid “rigid formulas” and that enhanced damages
                       27   are awarded to address a “full range of culpable behavior.” Halo, 136 S.Ct. at 1933-34.
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                        1          The FAC sufficiently alleges the factual circumstances of Apple’s culpability due to

                        2   willful blindness. Defendants are willfully blind if they both “subjectively believe that there is a
                        3   high probability that a fact exists,” and “take deliberate actions to avoid learning of that fact.”

                        4   Glob.-Tech, 563 U.S. 754 at 769. The FAC alleges that Apple had access to and evaluated
                        5   Corephotonics technology and that it knew that Corephotonics had filed patent applications on
                        6   those technologies. Apple also entered into business negotiations for potentially licensing
                        7   technology and intellectual property. Apple knew about the ’291 patent, the ’152 patent
                        8   application, and the parent application of the ’032 and ’712 patents because of its activities at the
                        9   Patent Office. And, when Corephotonics tried to share its patents with Apple employees, Apple
                       10   employees instructed Corephotonics neither send Apple any patents nor show patents to anyone
                       11   working there.
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                       12          These allegations draw together a pattern of conduct from which it can be plausibly
                       13   inferred that Apple’s believed that there was a high probability that it was infringing the Asserted
                       14   Patents, and that Apple took deliberate actions to avoid learning of that fact. Accordingly,
                       15   Corephotonics’ willful infringement claims should also be allowed to proceed on the basis of
                       16   Apple’s alleged willful blindness, and their merits should be resolved once there is a factual
                       17   record to evaluate.
                       18          D.        The Grounds for Apple’s Motion to Dismiss Were Rejected by This
                       19                    Court When It Ruled in Apple’s Favor in Apple v. Samsung.
                       20          Apple does not contend that Apple did not learn knew about the Asserted Patents after
                       21   the Complaint was filed. In fact, Apple does not raise any argument that the FAC’s allegations
                       22   do not support a claim of willful infringement after the Complaint was filed. Rather, Apple
                       23   argues that allegations refer to events that took place before the patents had issued or before it
                       24   received the Corephotonics’ letter and the filing of the suit. Apple’s argument is unavailing, as it
                       25   relies on a premise that this Court already rejected, following Halo and Federal Circuit
                       26   precedent.
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                                         PLAINTIFF COREPHOTONICS LTD.’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
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                        1                  1.        This Court Has Already Held That Even If an Infringer’s

                        2                            Knowledge of the Patents Only Existed After a Lawsuit is
                        3                            Filed, there is Still a Basis to Find that Infringement Was

                        4                            Willful.
                        5          This Court has held that “post-filing conduct alone can serve as the basis of a jury's
                        6   willfulness finding and an award of enhanced damages.” Apple Inc. v. Samsung Elecs. Co., 258
                        7   F.Supp.3d 1013, 1027 (N.D. Cal. 2017). This Court made that determination in evaluating a
                        8   motion for JMOL after a complete factual record had been developed and a jury trial held. In that
                        9   case, the complete record showed that the pre-filing conduct by Samsung that Apple contended
                       10   supported willful infringement occurred prior to when Samsung knew of the patents and the
                       11   patents had even been issued. Id. at 1025. The Court determined that these facts did not preclude
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                       12   a finding of willful infringement based on Samsung’s post-filing conduct. Id. at 1029. The order
                       13   noted that, especially prior to Halo, there had been a divide of cases as to whether pre-filing
                       14   knowledge of patents was a prerequisite for finding willful infringement.
                       15          This Court, however, grounded its ultimate determination that willful infringement does
                       16   not legally require pre-suit knowledge of patents-in-suit on the Federal Circuit’s most recent
                       17   guidance that “there is no rigid rule” in what a patentee needs to show to make a case for
                       18   willfulness based on post-suit conduct. Mentor Graphics, 851 F.3d at 1296. This is consistent
                       19   with the Supreme Court, which “eschew[ed] any rigid formula for awarding enhanced damages.”
                       20   Halo, 136 S.Ct. at 1934.
                       21                  2.        Apple Did Not Even Try to Explain How This Case Differs
                       22                            from Samsung. It Does Not.
                       23          Failing even to cite the Samsung decision, Apple cannot reconcile the arguments that it
                       24   makes here with the positions it took (and won on) in Apple v. Samsung.. Apple simply flips them
                       25   around. There, Apple specifically argued in its briefing that Samsung’s arguments that “its lack
                       26   of pre-suit knowledge of the ’721 patent precludes a determination of willfulness is contrary to
                       27   law” and Samsung’s argument that evidence of its copying prior to the patent issuing “is also
                       28   unavailing.” Apple’s Response Regarding Willfulness and Opening Brief Regarding Enhanced

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                        1   Damages., No. 5:12-cv-00630-LHK, Dkt. 2191, 1, 2017 WL 4871425 (N.D.Cal. April 28, 2017).

                        2   Now, Apple’s arguments are based entirely around FAC alleging facts that are “insufficient for
                        3   pre-suit knowledge.” Dkt. 47. Such arguments were unavailing when Samsung made them

                        4   against Apple then, and they are unavailing now.
                        5          Apple does not raise any factual distinction from the circumstances in Samsung that
                        6   would justify its own contradictory positions or cause the Court to reach a different conclusion.
                        7   Neither does Apple argue that there has been any legal development since Mentor Graphics or
                        8   this Court’s decision that should lead to a different outcome now. Apple cites some district court
                        9   cases with different outcomes, but most were decided before Mentor Graphics – and this Court
                       10   in Samsung distinguished similar cases. Apple only cites one case that was decided after this
                       11   Court’s decision in Apple v. Samsung. XpertUniverse, Inc. v. Cisco Sys., Inc., No. 17-CV-03848-
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                       12   RS, 2017 WL 4551519, at *6 (N.D. Cal. Oct. 11, 2017). That case’s particular circumstances are
                       13   not at issue here, however, as in that case the court dismissed with leave to amend where the
                       14   defendant indisputably knew of the patent from a previous verdict against it, but the plaintiff had
                       15   pled no other allegations. Id.
                       16                   3.        The Timing of the Letter Sent to Apple Before the Suit Does
                       17                             Not Preclude a Plausible Inference of Willful Infringement.
                       18          Apple argues that Corephotonics’ letter to Apple prior to filing the Complaint is itself a
                       19   basis for granting Apple’s motion. Dkt. 47, 9-10. This argument is merely a variant of the
                       20   proposition that pre-suit knowledge is a requirement for willful infringement, which this Court
                       21   rejected in Samsung. The Federal Circuit has also specifically addressed the question of whether
                       22   informing a defendant shortly before filing a Complaint precludes a finding of willful
                       23   infringement. Power Lift, Inc. v. Lang Tools, Inc., 774 F.2d 478, 482 (Fed. Cir. 1985). In that
                       24   case, willful infringement was upheld where notice was given after a patent issued and then filed
                       25   a lawsuit only nine days later. Id. In another case, which Apple cited in in its Samsung brief,
                       26   willful infringement was upheld when notice was given two weeks after a patent issued and the
                       27   suit was filed two weeks later. Kaufman Co. v. Lantech, Inc., 807 F.2d 970, 979 (Fed. Cir. 1986).
                       28   Whether the timing of Corephotonics’ letter is among the facts that supports a finding of willful

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                        1   infringement is a fact issue for the court to decide, therefore, not a basis to dismiss at the

                        2   pleading stage.
                        3           Apple’s principal arguments in support of its motion are simply not viable under this

                        4   Court’s previous ruling and under current Federal Circuit precedent Because this Court’s
                        5   reasoning in Apple v. Samsung squarely applies to this case, the Motion should be denied.
                        6   III.    IN    THE       ALTERNATIVE,                 DISMISSAL            SHOULD            BE      WITHOUT
                        7           PREJUDICE AND COREPHOTONICS SHOULD BE ALLOWED TO
                        8           AMEND THE COMPLAINT
                        9           Apple seeks the extraordinary relief of a dismissal with prejudice, citing to the Court’s
                       10   statements at the Case Management Conference. Corephotonics, however, complied with the
                       11   Court’s instructions. Corephotonics timely filed an amended Complaint, which both included
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                       12   expanded allegations about Apple’s culpable infringement, and corrected a mistaken patent
                       13   number in the original Complaint that Apple had identified in its first motion to dismiss. Dkt. 39.
                       14   If this Court were to dismiss Corephotonics’ willful infringement claims due to some newly-
                       15   identified defect, Corephotonics respectfully requests that the dismissal should be without
                       16   prejudice and Corephotonics be granted leave to file an amended Complaint. 3
                       17   IV.     CONCLUSION
                       18           For the aforementioned reasons, and because Apple did not provide any grounds for
                       19   partial relief or dismissing the claims without prejudice, Apple’s motion to dismiss
                       20   Corephotonics’ willful infringement claims with prejudice should be denied in full.
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                               Even if portions of its pleadings alleging claims of willful infringement were dismissed,
                       28   Corephotonics reserves the right to seek enhanced damages under §284 as a remedy to which it
                            is entitled, even if not demanded in the pleadings, pursuant to Fed. R. Civ. P. 54(c).
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                            DATED: May 9, 2018                                 Respectfully submitted,
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                        2
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                                                                  CERTIFICATE OF SERVICE
                        1
                                   I certify that counsel of record who are deemed to have consented to electronic service
                        2
                            are being served on May 9, 2018, with a copy of this document via the Court’s CM/ECF systems
                        3
                            per Local Rule CV-5(a)(3). Any other counsel will be served by electronic mail, facsimile,
                        4
                            overnight delivery and/or First Class Mail on this date.
                        5
                        6                                                                   /s/       Marc. A. Fenster
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